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                   United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 22-3086                                                  September Term, 2022
                                                                      1:21-cr-00670-CJN-1
                                                    Filed On: August 14, 2023 [2012405]
United States of America,

                Appellee

         v.

Stephen K. Bannon,

                Appellant

                                          ORDER

        It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on October 12, 2023, at 9:30 A.M. The composition of the argument panel
will usually be revealed thirty days prior to the date of oral argument on the court's web
site at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Michael C. McGrail
                                                           Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
